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From:                              Barry Guaglardi <bguaglardi@adgmlaw.com>
Sent:                              Tuesday, June 20, 2017 7:59 PM
To:                                Ditlow, Lindsay F.
Cc:                                Evan Ostrer; Cousin, Brian S.
Subject:                           RE: Dardashtian v. Gitman
Attachments:                       Barry S Guaglardi Esq 2.vcf


Lindsay

Your below self-serving statement is very unproductive at this point, and will be raised directly with Judge Stanton at
tomorrow’s hearing.

You and your client represented earlier today, in writing, that your client had fully complied with the Court’s orders and
completely restored my client’s access, and returned all issues to the condition that existed on May 26, 2017, which
again was another false statement by your client. We are left on a “hide and go seek” mission with your client. That is
not what Judge Stanton ordered and your client’s continued misrepresentations and conduct will be addressed with the
Court.

As to the trademark issue, we will obtain the transcript of yesterday’s conference and determine what was said by your
client and address it thereafter if necessary.

The areas of your client’s continued non-compliance that we raised earlier today by email, were not our responsibility to
raise, and were brought to your and your client’s attention for illustration purposes only and not intended to be an
exhaustive list of your client’s total noncompliance by any means. It is not our burden to tell your client what he must
comply with or what actions he must take to return the Plaintiffs to their May 26, 2017 state of affairs. That burden, as
the Court told your client directly, falls squarely on your client.

We will address all further failures by your client to comply with the Court’s orders directly with the Court at the hearing
tomorrow.

Barry




Barry S. Guaglardi, Esq.
Arturi, D'Argenio, Guaglardi & Meliti, LLP
Mack Centre I
365 W. Passaic Street, Suite 130
Rochelle Park, New Jersey 07662
www.adgmlaw.com
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(201) 947-1010 Fax
(201) 374-9087 Direct Dial
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you.




From :Ditlow, Lindsay F. [mailto:lindsay.ditlow@dentons.com]
S ent:Tuesday, June 20, 2017 7:47 PM
T o:Barry Guaglardi <bguaglardi@adgmlaw.com>
Cc:Evan Ostrer <eostrer@adgmlaw.com>; Cousin, Brian S. <brian.cousin@dentons.com>; Meredith, Mark D.
<mark.meredith@dentons.com>
S ubject:RE: Dardashtian v. Gitman

Barry,
 Thank you for this additional information. It was helpful and Mr. Gitman continues his efforts to comply with all
orders. Attached please find information resolving the account issues which Mr. Dardashtian raised as well as
screenshots where necessary to show access is granted. Please review with your client and confirm all account issues
have been resolved.

Additionally, attached please find a deposit receipt for the BAP check.

In regards to the CSV Bank account, Mr. Gitman is prepared to provide a full accounting once the CR Inc. bank account is
closed. As mentioned earlier, because of pending transactions, the bank will not currently close the account.

Mr. Gitman has not filed a trademark application for ChannelReply or any similar name.

Please advise if the above resolves the issues you set forth below.

Best regards,
Lindsay



                  Lindsay F. Ditlow

                  D +1 212 398 5782 | US Internal 15782
                  lindsay.ditlow@dentons.com
                  Bio | Website

                  Dentons US LLP

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                  大成 Salans FMC SNR Denton McKenna Long

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From: Barry Guaglardi [mailto:bguaglardi@adgmlaw.com]
Sent: Tuesday, June 20, 2017 6:01 PM
To: Ditlow, Lindsay F.
Cc: Evan Ostrer; Cousin, Brian S.
Subject: FW: Dardashtian v. Gitman

Lindsay

Attached is a detailed list of the accounts my client cannot access despite your client’s contention that he has
fully restored access in accordance with Judge Stanton’s specific order. Also attached is an explanation why,
along with a detailed accounting of what is missing from the CSV Bank of America account.

In addition, BAP issued CSV a check for Gitman's travels that were paid for by CSV. This check was deposited
and returned for insufficient funds. I was informed by the CEO of BAP that Gitman asked that such check be
canceled and reissued directly to him. That amount is $3,651.84 and should be immediately redeposited by your
client into the CSV account.

As is clear from the attached, your client continues to refuse to return all issues back to the Plaintiffs’ May 26,
2017 condition as per the Court’s order. This will be addressed with the Court at tomorrow’s hearing and the
appropriate relief will be sought.

I further overheard your client indicate on the record before Judge Stanton yesterday, when he contended that
the tradename ChannelReply was not owned by Plaintiffs, that he obtained a trademark on the name
ChannelReply. If that is the case, and he, without authorization of the Plaintiffs, trademarked the name
ChannelReply for his or another’s benefit, it will be the basis for another cause of action and another restraint
and application to the Court. Please confirm immediately if this action was taken, and, if so, provide copies of
the trademark application, the registration for same, all documents relating thereto, so that we may determine
how to handle that situation as well. If I misheard your client, then please confirm the nonexistence of such
application for a trademark of the name ChannelReply or any other confusingly similar name.

Thank you.

Barry Guaglardi




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Barry S. Guaglardi, Esq.
Arturi, D'Argenio, Guaglardi & Meliti, LLP
Mack Centre I
365 W. Passaic Street, Suite 130
Rochelle Park, New Jersey 07662
www.adgmlaw.com
(201) 947-4100 Work
(201) 947-1010 Fax
(201) 374-9087 Direct Dial
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